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                                                                  Tuesday, 12 June, 2018 03:01:09 PM
                                                                        Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

                                                           Case No. 18-20025
                v.

 WILLIAM A. GOODWILL,

        Defendant.

                          DEFENDANT’S MOTION TO RECUSE
                     UNITED STATES DISTRICT JUDGE COLIN S. BRUCE

       Defendant WILLIAM GOODWILL, through his attorney Assistant Federal Public

Defender Johanes Maliza, hereby moves this Court, pursuant to 28 U.S.C. § 455(a), for

the District Court recuse itself from presiding further over this case. In support thereof

he states as follows:

                         PROCEDURAL AND FACTUAL HISTORY

       1.      The indictment in this cause charges Defendant with one count of

possession of cocaine with intent to distribute, in violation of 21 U.S.C. § 841(a)(1) and

841(b)(1)(B)(ii).

       2.      Prior to his appointment as judge, The Honorable Colin S. Bruce was

employed as an Assistant United States Attorney (“AUSA”) in the United States

Attorney’s Office for the Central District of Illinois. In the year 2003, Judge Bruce served

as lead counsel in Defendant’s prior case in the Central District of Illinois, 03-20104-MPM-

DGB.
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       3.     In the prior case, Mr. Goodwill was charged with a violation of 21 U.S.C. §

841(b)(1)(A). He was convicted and sentenced to 240 months of custody in the bureau of

prisons.

       4.     According to the PACER Docket for Case No. 03-20104, Judge Bruce, then

an AUSA, was lead counsel throughout the prosecution. At Mr. Goodwill’s January 20,

2005 sentencing hearing, Judge Bruce presented a sentencing recommendation regarding

Mr. Goodwill.

       5.     On January 19, 2017, then-President Barack Obama granted Mr. Goodwill

clemency, and terminated his sentence on May 19, 2017, thereby cutting several years off

of the sentence that was requested by Judge Bruce.

                                        ARGUMENT

       6.     Title 28 U.S.C. § 455(a) states, in pertinent part, that a judge “shall disqualify

himself in any proceeding in which his impartiality might reasonably be questioned.

       7.     The legislative history of § 455(a) reflects a Congressional intent to promote

public confidence in the impartiality of the federal judicial process. Liljeber v. Health

Services Acquisition Corp., 486 U.S. 847, 858, n.7 (1988); United States v. Balitrieri, 779 F.2d

1191, 1204 (7th Cir. 1985).

       8.     Under § 455(a), “[w]hat matters is not the reality of bias or prejudice but its

appearance.” Liteky v. United States, 510 U.S. 540, 548, (1994). Section 455(a) requires that

a judge recuse himself from any proceeding where there is a reasonable basis for finding

an appearance of partiality under the facts and circumstances of a particular case. SCA

Servs., Inc. v. Morgan, 557 F.2d 110, 116 (7th Cir. 1977). The test for determining whether


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there is an appearance of partiality is whether an objective, disinterested observer fully

informed of the facts underlying the grounds on which recusal is sought would entertain

significant doubt that justice would be done in the case. Union Carbide Corp. v. U.S. Cutting

Serv., 782 F.2d 710, 715 (7th Cir. 1986); Pepsico, Inc. v. McMillen, 764 F.2d 458, 460 (7th Cir.

1985). “A judge should be disqualified from a proceeding where the circumstances raise

reasonable questions about his impartiality, regardless of his state of mind or ability to

conduct a fair and impartial hearing.” United States v. Griffin, 84 F.3d 820, 830 (7th Cir.

1996).

         9.    In United States v. Herrera-Valdez, 826 F.3d 912, 919 (7th Cir. 2016), the

recusal of a district judge was required because the judge had previously worked for the

Immigration and Naturalization Service (“INS”). During his time with the INS, the judge

represented the government in a deportation proceeding against the defendant. Herrera-

Valadez, 826 F.3d at 919. The defendant was charged in the new case with illegal reentry.

Herrera-Valdez, 826 F.3d at 915. Although the judge might not have even recalled the case

or, as INS counsel, reviewed any documents submitted in the prior proceeding, the

judge’s name appeared on documents submitted to the court, and the judge had a

supervisory role with the INS in the prior proceedings. Herrera-Valdez, 826 F.3d at 919.

Thus, a reasonable person informed of the situation might have doubt about the judge’s

impartiality. Herrera-Valdez, 826 F.3d at 919.

         10.   Eight months ago, in United States v. Michael Cobbs, Central District of

Illinois Case No. 17-20051, this Court recused itself when it faced a similar circumstance.




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In Cobbs, Judge Bruce recused himself after he had represented the United States as lead

counsel in the 2005 prosecution of Mr. Cobbs.

       11.    As the lead attorney who prosecuted the Defendant previously, Judge

Bruce has direct knowledge of the Defendant’s prior case and personal history, both of

which will be statutory considerations at any sentencing hearing that may occur in this

case. Additionally, there is a concern that President Obama’s clemency decision may

cause tension. Specifically, Mr. Goodwill only served about 12 years out of the 20 Judge

Bruce would have expected for Mr. Goodwill when the sentence was imposed.

       12.    A reasonable person looking at this case from an objective perspective

could conclude that the Court has a predisposed opinion about the Defendant, his prior

offense, and other relevant factors under 18 U.S.C. § 3553(a), which could affect the

Defendant’s ultimate sentence in this case, if convicted.

       WHEREFORE, based on the foregoing, Defendant William Goodwill respectfully

requests that the Court recuse itself from presiding over the instant case.

                                            Respectfully submitted,

 Dated: June 12, 2018                       WILLIAM A. GOODWILL, Defendant,

                                            THOMAS PATTON, Federal Public Defender

                                            By: s/ Johanes Maliza
                                            Johanes C. Maliza (6323056)
                                            Office of the Federal Public Defender
                                            600 E. Adams St., Third Floor
                                            Springfield, IL 62701
                                            Telephone: 217-492-5070
                                            Facsimile:     217-492-5077
                                            E-mail:        johanes_maliza@fd.org



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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. Parties may access this filing through the Court’s system.



                                          s/ Johanes C. Maliza




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